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 9            IN THE UNITED STATES DISTRICT COURT
10          FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                          Case No. CV 19-1833 JWH (MRW)
13   DWAIN SCALES,
14                    Petitioner,
                                          ORDER ACCEPTING FINDINGS
15               v.                       AND RECOMMENDATIONS OF
                                          UNITED STATES MAGISTRATE
16   W.L. MONTGOMERY, Warden,             JUDGE
17                    Respondent.
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 1         Pursuant to 28 U.S.C. § 636, the Court reviewed the petition, the

 2   records on file, and the Report and Recommendation of the United States

 3   Magistrate Judge. Further, the Court engaged in a de novo review of

 4   those portions of the Report to which Petitioner objected. The Court

 5   accepts the findings and recommendation of the Magistrate Judge.

 6         IT IS ORDERED that Judgment be entered denying the petition and

 7   dismissing this action with prejudice.

 8         IT IS SO ORDERED.

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10   DATE: May 3, 2021                                                      __
11                                       UNITED STATES DISTRICT JUDGE
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